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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Diane Kahn,                                     No. CV-20-00825-PHX-DWL
10                  Plaintiff,                       ORDER
11   v.
12   All Saints Episcopal Church, et al.,
13                  Defendants.
14
15            IT IS ORDERED granting the stipulation of dismissal (Doc. 14).

16            IT IS FURTHER ORDERED that all claims in the above-captioned case are
17   dismissed with prejudice, with each party bearing its own costs and attorneys’ fees.

18            IT IS FURTHER ORDERED that all hearings and deadlines are vacated, and all

19   pending motions are denied as moot.

20            Dated this 15th day of July, 2020.
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